 

 

Case 8- 17- 76114- ast Doc' 18 Filed 12/05 173 '

. UNIT`ED sTATEs BANKRUPTCY COURT
EASTERN pistch oF an YoRK

 

 

m emi 11 ~j@»'ewwe¢~e .. 1 ~
~ ` ' ' -~ ’ ` " ~ Cascepl§bi§:'§gvst\f§\ `t¢`e\\\i~`- Cx'-s.l:.'v
_ " -_,claii@attgs 13 3= 25 .
..'D@bf?>r<s>- : -` x ’ ._ z eeet:wra f

..X_ ___ ~
AEFmAvITPURSUANr` ro-LOCAL~ Ri`JLE~ 1007-nm _ ' ’

'_CQVO\ z R-' 1 C_oo.y'\`noce€\'\e_\@ undersigned debtor herein, swears as follows:

 

1. -. 'Debtor’ flled'a petition under chapter-___ v \3 of the Banl<ruptcy Code on Oc`,\ob`er_ 5‘ '1.0\”'\
2. 7 ' Scl-ledule(s) P - j were not filed at the time of fl1in'g of the said petition, and is/are being filed herewith
1 3, l [Check applicabie box]: v l l 7 n n
» g The schedules flled herewith reflect no additions or corrections to, or deletions from, the list of creditors

which accompanied the petition.

7113 ' . A_nne_xed hereto ls a listing of names and addresses of scheduled creditors added to or deleted from the list ,.
' _:.;::of creditors which accompanled the petition. Also listed, as applicable, are any scheduled credltors whose _` ,
" j'prevlously listed names and!o`r addresses have been corrected-. The nature of the change (addltlon, delethn .; .-:

or correctlon) ls mdlcated for each creditor listed.

 

iv 4. [l]'credz'tors have been added] An amended mailing matrix is annexed hereto listing added credltors ONLY in thev v --.
' format prescribed by Loca1Rule_ 1007- 3 .. 1 . , ,, 1 1 v -

Reminder: No amendment of schedules is effective until proof of service in accordance with EDNYLBR 1009-1(b) has ~ j 1
' been fled with the Court. l _ ~ `

Any additions to the list of creditors which accompanied the petition will be deemed an amendment to that list; if this , '
amendment l_s filed prior to the expiration of the time period set forth 111 Fed. R. Bankr. P. 4004 and 4007, it will be deemed

to constitute a motion for a 30-day extension of the time within which any added creditors may file a complaint to object to `

the discharge of the debtor and/or to determine dischargeability.- This motion will be deemed granted without a hearing if .
no objection is filed with the Court and served on debtor within 14 days following filing of proof of service of this'~- »
afflrmation, all attachments and the amended schedules m accordance with EDNY LRB 1009-1.

l ]_)atedA:'-'y \7._\05` mold 7
Q/w// YM

Debtor (sz'g'nature)

_ . . ELVlA KAHYAOGLU
' " .W eTARY PueL\c`- sTATE 01= NEW YORK
` Notaryf§llc SmteéfNew York _ __ y _ No 01KA5210755
z , . ». 7 4` n ` O_ua|ified`m Suffo|kCo`un_ty
~ USBC '6-4 - " y -' ' n ' _ `. My` Commi_ssion §x'_plres 0_8- 31 -2021/ "

 

 

Rev. ll/l/ll '

Fi|| in this information to identify your case:

zGarthaffner'- l

 

'_ » Last Name_

 

Midd|e'_ Nan'_\e _‘~=
_ nlted States Bankruptcy Court four the E_asfern Dlsfrlcf Of rew YOrk
Case' number 8 17-76114 aSt ‘ 7 l y

(lf known) _

 

 

 

El Ch_eck lf.thls` l`s _an `

 

 

 

_`.`364,"365§001

 

 

="376,5%5;'00§

 

 

 

Yo'gr_.tb_ta'i- liqbi|jtie§ '-’

 

 

;5'660§60'0.`00' * '»

 

 

 

 

 

 

 

 

ase"number (11)_650

 

 

`" '<.z<_>urt with _

 

 

 

 

`bf _c|aiméjfrom Pa`r_t`q_,, line`6 `of,S_ch.eduIe E/ b

 

 

 

 

 

 

 

 

 

_ bfogi_ai Form1

 

 

Fi|| in this information to identify your case and this filing:

 

 

 

 

 

 

 

 

 

 

 

 

f you o`wn;o`r haye,m_o'ré than o:n`e, ist here:'

.2. `

 

` _,":Street_ add_ress, ifg’available_,:_or other tiescription' "

 

 

 

 

entire property? l ~- portion yo`u own?

400, 000. 00 $ 364 365. 00_

 

Describe the nature of your ownership _
interest (such as fee simple, tenancy by
he entireties, or a life estate), if known '1

 

 

cl D_ebtor 2 only - _
|;| De'b~'1111 1 'a11'11' e111111 2 111111, D_Checl< if this is community property

' ~` ions

» cl At least one of the d btors and another` instruct )

' Other information you wish to add about this` item, such as local
. property_ identification numbe -

 

v What' is the property? Check all that apply
' _.`-`U' Single-familyho e

n Condominium or cooperative
n Manufactured or mobile home

 

 

interest (such `as fee simple,. tenancy by" 5
the entireties, o a life estate), i kno

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§Approximate;mileage

 

"Other,inforrnation .

 

 

 

 

'lf_.you own or.haye'more'than one,`desc`ribe er

 

 

 

 

 

 

 

 

 

 

 

~. .Last N:_amel

 

 

 

.El Debtori and Debtorz only ; .§ _ _ `, ., Currenf»value of the
[|Aueastone ~ » _ . . portion you ow`n?

 

 

 

 

 

‘Apprrroxim`ate _'mileage'

§othét.ihidrmaii§q

 

 

 

 

 

 

 

' instructions)'

 

 

 

m re1than' one_,"|'st herei:, _
l ' Vl:lho; has-and interest the', property? Check one:
m Debtor _1`>on`ly,. ` -`; d l
»D D_ebtor l2 only ~»
1 cl Deb_tor1 and De_btorZ only 1_
"' UAA_t least one of the debtors and another '

 

O_ther info`rrnation: l -_ '

 

 

n Check if thi wns'_t:tl)rnr'r_nunity property (s_ee"
-instructions) _ ~' ' ' `

 

 

 

 

_Add _the dollar value of the [;i<:)rt`i4 ' yo' own for_ all of your entries fi_'

. , raft _2§ in¢_ld`din_g»énv :e;mri'_e`sif.ojr_;pagés
o have attached for Part2. Wri_tethat number here ` " ' ‘ " ~ ' l

 

 

 

 

 

 

~`S_¢h'edu_ie "A/B:* Prqpérty

 

 

 

 

"'r-'i- Case 28

  
    

~1.7-117.61;.11§4"-;31§:,'[>0.:.1"81. 1F"=e;_d._~zlz/OS/.i’:'/:_.;>

     
     
    
 
    
   

-ri,t€,r;e:d11__2§!_95¢_1-7{_;’5:~3:;_;_oz_ '.__

    
 

 

     

  

l €~` A g Garthaffner

" . Debtori ." " _Carol'- - '
" -. " . , ,MiddieName_ _. La_st_Nar_i_ie __

"_ Firs_tName . :.

, m:scri_be-'_'Y__our_'|;ersonal:ah_¢'i__l"iousehoid_-lt:ems " ' .- n :- l-

 

 

‘ _C.a_se numbe,(',,ikn-a-`;n)"sq7-`7_61;14-;§£";_-' '_ `

        
   

 

 

C_iirrent value of_ the

vHoi'iseh<i|c.l goods and furnishings . . -
. __ ___E_'xa_riiples: Major appliances furniture, linens china_', kitchenware
;,_i_~_E| N'o_ _ _ . ~ ,_. ... ._ . . ._
"__ m,Y€S--D€SC"'b€._-' -_'-" Kitchen App|iances Bedroom Li_ving_ _r__0_0m,. and Dining room sets; Washer _ari`c__i
'--'_Dryer -

 

 

" "--.»-’7§"500;`6€)< -_

    

 

 

 

  

'7." Electronics -\ - ~ -- \ ~ . .. ..
~;`-.'l_E'x-a: ple_s.' Televisior_is and radios; audio. video, stereo and digital equipment computers printers, scanner_s_; _m_usic_ .."_ -
-' collections; electronic devices including cell phones cameras,' media players,' garnes____ ` ' ' `

       
 
  
 

     

 

   
  

   

   

" "l":f1;200160 if `

 

§l`_\l_s_,r:ljl/ljl P,la`y`e'r_, ':___C'elll'?h_c.`)_neil 'Radlo n

 

 

 

 

“'."`:-.,Y§ 8.__ Collectibles ofval_ue . . . , . 1 . . _, ` t .

"'lExarr_ip/es_. Antiques `a_ndi figurines; paintings prints or other artwork; books, pictures or other art objects

.~ . .__stamp,_ _co_in or baseball card collections; other collections memora_b_ilia, collectibles
'--m t_\lo " - - - - -. - - l ,

` .' ', -D __Yes ljescr_ibe_.

 

 

 

       

 

 

 

 

 

   

`=` e.';Equipment for sports a_nd_h_o_bt_)ies_ " _ . 7 _ 1 ~_
~ E)c_amples. Sports, photographic exercise`, and other hobby equipment bicycles, pool tables _golf clubs,_ skis;_ canoes . -_
_ and kayaks; carpentry tools musical instruments ' t _ _ , . , . _1
. ; fm No ‘_ . _ -
~. __El_ Yes. lje_scn`be_. " 1 '_. _` '-'_$':l ~

 

 

 

10_;Fir_eamis j_"" "" '; ' ' "_ - _'_`-"_‘_ _ ‘. " '. ' __ _ '1
-- _"Exam_p_les_._'_ Pis_to|s rifles_ shotguns,'ammunition, and related equipment -` ' ' " ' '
C_l_1 _Yes.__Describe._._...'.;-.`;; ` _ - 1 __ _. __ ._ 1 _ ___ ,_- 1. _`_. _-_1_$

 

 

` »11'.ci'o_thes _ . . . _ , __
_Ex_amples. E\'/ery.dz-i_)_r_1 clothes.` furs, leather coats, designer wear, shoes,_` accessories . `
- '_El No _ _ - - ' » ' - ‘

- m_1_Yes_.Descnbe.

 

 

 

 

 

 

."._1_E'verydayWe1a`r,_O_ut_erwe_ar, ljre_ssS__h'oe`s,_and`Casi':ial_-`-Shoe§~ ` '-__'_' _$':.' ";1,§500;90 1 `.

 

e_12.1Jewelry

'l_=__xamp|es: Everyday jewelry, costume jewelry, engagement nngs wedding rings,_ heirloom jewelry, watches gems
gold, sil__ver _ . , -

__=El N_o , _
;m_ Yes. Describe

 

 

, $ . -.;1,'500.¢-0' aj

 

 

 

'j_f illvedding:l§,an_d rSome Costume _Jevye'_l“iy@nd Gold Watch "

13;Non-farm animals _ ‘ 4 " -` " " '

_ Examples: D_ogs, cats, birds horses
m _N_o l
__U Y_es _[_)esc_rib_e.

 

 

 

 

 

" 14.A_ny_ other personal and household items you didn-ot already list', including a_riy health aids y_ou did`not list
3c1 Yes. Givespecifc »_ "_ ._. '__- _ _ ` __ `-'" '. " _ ' ";___-.'
.infc_)rma_tion._.1 "- `-' ' ~-- *' ` " ` ' w

 

 

 

 

 

 

-_,_ui

-. ~_1 .'Add the dollar value _of all of your entries frorn _Pa_rt 3, including any entries f__or pages _yo_u have attached ` .~ -$'-1 '. .1 `__ 511 700_0`0_
: 3 'forPait3Writethatnumberhere \ ....... _ _ _ _ __ __ __ _ _ _ -)' `

 

 

 

     

 

_"Ofi'icial._l=_onn'lOS_P§/._B-_t_-_ ,' ~1_7 ` '~_"Sc`he_dul_e_AIlB_:,P`__roperty' "_-1_ _"_ `.-' z `»'_..“‘_pag_e_4 "-_

 

1 Gérrhé`ffn`é`r' case nu be`,;(,.,kn_.cwn,=a-_1.7-76114-ast~'

_ Miqd1e_Namq L§s! Nan_\e

 

 

 

._ _."Ch§_cki'hg account

 

 

 

 

17 5.Cer11f cates of deposit

 

 

17 " 9th§r 11n§ncl§_1. §ccou111: '

17.7.91he_rin§ c1§l §qcoun1:_ ' _

17 8. 9111e_r fn§ncl§| account " ; j : n

 

'. _ 179 91herfn§ncl§1§ccoun1:'-'_

 

 

 

' ‘ %ofown§rshlp:"

UYes G1ve specific ,_ __ , _ ,. 0%"l -" `%':-.
`informatio__n about w _ :. '_-- _ ,_ 3 ii _ 531 cnn-j -`0%.'-' _;' %-

.'_ N§me of §1111ty:

 

 

 

 

 

»` ‘01n_c1a\ Fon‘r'\:m§A'/B,'.’

 

 

_ A'.` 1"_‘;

-.4 _ Firsl_N_arne ' Midd!i.- Name_ . , -LastName '

 

 

 

 

 

 

0; Government and corporate bonds and other negotiable and n-on negotiable instruments

Ne_gotiab__le instruments include personal checks,' cashiers’ 'checl<s`, promissory notes`, and money orders.
Non~negotiab/e instruments are those you_ cannot transfer to someone by_ signing o'r delivering them_.

' n -Yes .Give specil`ic_` ':i_ssue vr?';me-_- _
- information about -. . - ,

 

 

 

 

 

 

 

 

 

Addiiio_né_ijac_couri;_ _`*j

diiion_ai acc`__<`>_ur`ic ’ `

22. Security depos and prepayments

 

 

 

' ~'- '-Heating oi

' ~ Secu_rity deposit on_ rental un_.

 

' - zPrepaid r_ent: v'

 

 

f _'.Telephone

 

'Rented furniture: _. ' - b ' '-

 

 

 

 

 

 

 

 

 

`o_iri¢i'ai_'_an'n ioeA/`B

 

 

 

.~.,..,`,...,,,,_`~..,.... .,.,,.-._,`,.....:...'.....§ ,

_, ____i`__ ___|__ _ _< j __ _ _____l

_' cl Yes. Give specific

i'=~c@se 3>_17-;761~14¢33;,. poole -. Fii¢_@ji -12/05';/-17,._# ;,»E_n_iere_ci ;i_;z,/o;z__/:i7_§1"5;;37;_0'-_2 }_

1 ,

     

 

 

Di,tiCarolA eanhafiner Cmb(km)gwm…ast

-First‘Name, _ - Middle Name -. LastName

   

§ 24. ln_terests' in an education IRA,. in an account' in a qualified ABLE program or under a qualified state tuition program

   

s

_' ll 26 u'. s..c §§ 530(b)(1) 529A(b)` and _529(b)(1).
_"§ mNo"", '[

 

 

' cl Ye§ lnstitution name and description Separatelyi file t_he records of any interests 1_1 U. S. C. § 521(c):

i

 

 

 

 

l2.5 Trusts, equitable or future interests in property (other than anything listed' in line 1), and rights or powers
' exercisable for your benefit _ : , . , . . , . .

mNo

m Yes. Givespecific ' -' '- '

   

 

 

 

 

 

 

 

_'§_ information about them `
26 Pater_its, copyrights, trademarks trade secrets, and other intellectual property _ ' _ -. `.-‘_
Examples:_ |nternet domain names, websites, proceeds from royalties and licensing agreements '_ `_` _ ' j '_"»; l _-'._`
m N'o ‘- -' - -_- -: »- . v 4 ~.;

 

 

 

- information_aboutthem.... "

 

27. Licenses, franchises and other general intangibles 1v " ' ' " - '.. ~ " .:`~ » ' -' -- ~
Examples: Bu_ilding permits, exclusive licenses cooperative association holdings, liquor licenses professional licenses

mNo'

DYes.. Givespecific. _ _ _ . _ _ \_ . _ ._ _ - , . ._
_informationaboutthem.... __ , - _"1_: _ _; y ' ~ _ _ '- ` ~ $

 

 

 

 

    
 
   
  

 

28. Tax refunds owed to you _ 4_ -
mNo. _ '_ _ _ __ :_.
Cl Yes. Give specit' c information "

1 '.about them including whether'

 

.Federal:- .

`_§~ .'-_ . ' 'youalreadyfiledthereturns. _-" -' . _ State:

i.' ' dh . ....................... . - " ' ' - ` .
1 an_t_.`e,tax__y?arjs, v '. 4 _' _ _ . - l ' 1Lo¢:ai; -$

 

 

 

§ 29. Family support

Examples. Past due lor lump sum alimony, spousal support._ child support, maintenance, divorce settlement property settlement '

mNo

cl Yes. Give specific information

 

 

Alimony: - '
Mainten‘ance:
Support

Div`orce settlement

_"e» m'é»e»m' "

 

 

P_ropeity settlement

 

30. Other amounts someone owes you ‘ ' '- ‘ ' ' ~
lExamples: Unpaid wages, disability' insurance payments`, disability benef ts sick pay, vacation pay. workers' compensation
§ _ . ' Social Security benefits; unpaid loans youl made to someone else _

mNo

cl Yes. Give specifc information...1...-.._......_

 

 

 

 

 

l

i....¢,_.-N.~. :.2~'.1...~~»…~...-..,.,......~,.......`.,2,...,,,_,.....,._.._...._. ,_ ,.___.,."..,e._¢.,.‘,.f.t.,.,~ .t .i.__x..s ~,.2 ' s....'.,;,.~.....- .c. _.,.v.'.,..

 

Ofi'i'cial-Forrn 106_A{l3 ,` -` ~ - " '__' __"Schedu|eA’/B:'Propert'y- l l ` - '_ ' " ` page 71

 

_ Current value of_`the_` _-_`
portion you own? ~`
x o_not deduct secured »';_`~ ' _
claims or exemptions._~ -

 

 

Gaithaffner ,

 

 

'M'deeNarne_ , . LaslName

'. w

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_E| No cord Pari`e_ q .
L:l Y_és. Go to line 38 _ '

 

 

 

 

 

 

 

 

 

 

§ " -: _-$chedule:A/B:

 

 

 

_Middle N_ame . ' '.. LastName ‘ .

 

 

 

 

 

 

 

 

 

'4_3 Customer lists, mailing lists, or otherl compilation

`mation' `(as`defiri_ed-in .11 U.'S.

 

 

 

 

" q Ye_s Give spec

 

_ information

 

 

 

 

 

 

 

§ ' '- 45 Ad_d the dollar value of nall of your. entries from _Part 5 including any entries for pages you have attached
' ": "for_ Pa_rt_ 5. Wr_ite_ tha__t number here _’ ' _ " - -

   

   

 

 
 

 

 

 

 

   

 

Déscrib_e- Any Farm- and Commercial Fishing-Related Property Yo_u van or l_dav__`e an lnterest li_'l.
lf you own or have an interest in farmland, list it_' in Pa_rt1. . ~ ` -

 

 
  

 

.|,.-

 

1-46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property? .
w No Go to Pait 7_. ' ' ' '
Yes. _G_o to line _4'/'_

      
      
 

:47. Farr_n animals 1.` . -
‘"Examples Li_ves_tock poultry. farm-raised f sh

     
 

 

 

 

 

 

 

 

 

   
 

---..f-`_<‘>f.ici§i F¢rm'i`d¢»vé

 

'Garthaffner

 

 

' Mlddle Na_m_e_ -,LastN_ame, ,4

vr' hér\/_e_sted'

 

 

Farm and tis_`h'in'g` equipm nt, implements, machiné'ry.,'.:fi_klt`u`res','» and :too_|s _oif trad g

 

 

 

 

 

 

 

 

 

 

`f ali o_f your lentrie rom':P.'a'r`t 6_ n'_cludirig any entries fo`r p'agesyou*ha`v_e _attached?

 

 

 

 

 

53_. ,Do you have other property of __any find you did not already list? :`”
`-Examples__: Seasori tickets country club membership ~

 

`\;l Y`es. Give specific :' " ‘ ii
information..

 

 

 

 

 

‘ 54.Add tile e¢iiar_:v'aiue of aii er y'¢sur entries riehl i_=ai-i 1.wr__i¢`e_ ¢_h_ec nqmbe'r"here" ' '

 

 

 

_ 'i.i_ei `_§'he;_ 'rp'te`_i`s "e‘f:Eaeh `i"=__‘a§t o`f`,t`h_is_ i=`erm »' __ _,

55_. Part1_ Total real estate; line2 ` l -' l f ' 364,36500
:',_56. Part2.Tota|v hicles, |ine5 v ` - v

57 _Part 3i Total personal and household items,l line 15 ` - .

56 Part4: Tota| t` nancial assets line 36 l n d

59 Part45'Total business- related property, line 4_5 _

' 60. P_ar_t 6 To_tal farm- and fishing-related propertyl line_ 52

 

"¢Sii>$':i>éi$<§_h_é\ Prs>r>§rf¥'t'°i=?\,"*).

 

 

 

 

 

 

 

 

 

_ __ orric'iei Ferhg`.i;oéA/B`

 

Fi|l in this information to identify your case:

»Cé`r'ei

First Name

 

Cl Check if this is a
. amended filing

 

 

 

 

 

 

 

 

 

 

 

 

 

 

The-Pro'perty You 'Ciaim as~Exempt

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_Qa_se number. 8'17'761`14 aSt

 

 

 

 

 

 

Credltoi’_s Nar_ne

 

 

 

" `P. 0 Bo'x` 55004

 

 

Date` debt was incurred

 

 

$-200, OOO. ( ‘

 

 

 

-_<-Describe the property that secures the clai

 

 

 

 

 

 

 

 

St_aie Z|F_’ Code

'_'Debtor 1 only .
j Debtor 2 only

As of the date you fiie, the ' " ` Check:ali;tliat apply. _ '
n _Cont.ingent >` ‘ '
n Unliquidated

 

 

 

 

 

 

 

 

   
 

Middle Nam`e .

 

 

Additiona| Page jj

   

 

' j'D.e:st_:rii;z'e,~-,thel property:that secures the clai`rn""

 
   

 

 

 

 

 

 

 

 

 

 

 

 

State‘_~ZlP Code

 

_ l ::As of the date you file,

     
    

 

i`he' eia'hh ie: -ch`e'¢i< eli iha'ia`p`piy.

 

    

g _` Describe the 'property£th'at`securesthe_'ciaim_:

 

 

 

 

 

 

 

 

   
  

 

 
 

. _ _, State ZlP Code_ :-'
` '; ,: ivi_iho owes the dehi? check one

 

' .D_ebtor 1 only »'

  
 

Cl

'. n ..DebtorZ only v

`, n '_Debtor _1 and Debtor 2 only.'

` jim vAt least one of the debtors and another
Cl

 

_ 'Check if this claim relates to a
community debt

 
     

:i';'Date debt was incurred

   
 
   

.,fc] Continge 4. i ,_
C] Unliquidated ‘

 

~,`Nat'ure of lien check ai_i ihai eppiy

' ja An agreement you made (such as mortgage or secured - .' -`

’ :_ n Statutory lien (such as tax iien, mechanic

 

As of t_he date you filel the claim` is' Ch ck all that apply

   

 
 
    
     
    
  

 

E_] Disputed

 
   

car |oan)

 
 
     

'E] Judgment lien from a lawsuit
n Ol.her_`(inciuding a right to offset)

 

 

 

 

   

 

' street

 

   

 

 

 

 

 

 

 

 

         
     
     
 

. ~ State .Z|_F_’ Code ..

  
  
  

  

 

;'W_ho owes the debt2 Check one.

. Debtor 1 only
j Debtor 2 only_
.`\Deb'tor' 1 and Debtor 2 only
'»At least one of the debtors and anothe

 

  

m -'._iij,ij'"g`ij

'- ._community debt `

n Date debt was incurred .

     

 

 

a " As of the date you file, the claim' is: Check all that apply
U Contingeht " v .. 2 '
"U Un|iquidated `.~_ *_/.f
"'D Disputed " ` '
_ Nature of lien. Check ali that apply

n An agreement you made (such as mortgage or secured _ -

n Statutory lien (such as tax lien mechanicslien)
,‘ n Judgmentiien from_a|av_vsuit "" '
n Other(inc|uding a right to offset) ' -

':`|east _4 digits.o_f account number 7

 
 
 
 

 

   

   
     
   
     
 

' - car ioan)

 

 

 

 

 

 

 

   
   
   
   
   
 
   
      
   
   
     
  

 
 
  
 
 

   

 

 
 

Aal .t_‘reiizi."'a'sti

   

l ;'___} Case‘number'(i'ri`<n' n)

 

    

 

 

   
 

 

n _`_"_.'Stre_et¢

 

 

-_ z_iP cede _

_On which line in _Part___ did _y_ou enter t_he_ creditor?

 

L_ast 4 digits of account number

 

 

 

 

 

 

ZlP Cade _

 

 

 

 

' _"_Street

 

 

ziP_co_de,_

Qn which lin_e' ih Part1 _did_ you enter the c vdit_oi_".?'__

Last 4 digits of account number _‘___'

 

 

 

 

 

 

 

j Last 4 digits o__f account number 6 3 __5_ 5

 

Street _ `-

 

 

 

 

 

` ~_ State__'_

' 'ZlP Co_de` .

Ori_ _wh' h l__in_e' in Part1 did you__ enter the creditor?

 

 

    

 

  

 

" § Name _

 

 

__ _;'N_umber`_~ .Street_ -

 

 

. __State .

-_ `ZlP _Ccde _'

     
    
 

_On_ w_h_i_ch_ lin_e' _in Part1 did you enter the__ creditor?

L_ast_ 4 digits o__f account number __

 

 

 

` _Street' _ 2 '

 

 

 

 

 

~' State

; _ZlP_Cg_de '-.f

 

 

 

joinder heim'_t_r)eo'

   
 

 

 
 
 

.i_=_»ar_t_»2 of Sc_h'ed'ij”le_ li>: Credi_tors_ he i-lav Claim v,‘._‘ie__c_i_ir'ed by_P_r_o:per`ty>

 

 

 

 

 

cl Checkif thi's':ijs_ n_

 

 

 

 

 

 

 

 

 

oiity Credi,lo,fsr_Navriie

 

 

 

heck all _that apply

 

 

 

 

 

 

 

 

,ziP code _

ciié'ck`"aiifzhar_ `_ai')'piy. _ .

 

 

 

 

 

 

 

 

 

 

 

 

Check all that ap`ply.

 

 

 

 

 

 

,: ziE code -:. '

heck.`all that appl_

 

 

 

 

"- -SFf,e_efi :

 

 

 

"S_tate j

z__ii§ code 1

 

 

 

 

 

 

 

 

 

 

 

 

'A "Debto`[ 1

 

 
 
 
  

 

._ 4_`2

~ ease 8;,-'1'7-.76.114:@81. D,c:>c_. .1.3», .>Fiie_d.

     

>' _Carol- _ -.A '~" Garthaffner

 

` Flr_stName -Mid_dle Name _.__ Lasl_Name

;__ m List _All_ _of .Yo_ur N§NP_RlOR_|TY Un_securéd Clai_ms

12/0:5./_11:'_."_=E;meted-12195/17?1,5‘-:37:0?2?

 
 

     

 

l §_as§'7liur;te€_<i,ktotg;`8-17-7'61 14_'3¢£ l 4- -` '-

   

 

 

3. Do any creditors have. nonpriority unsecured claims against you?

 

_'" 'Nonprio_n`tyCr_editors Name ___ __ _ _ -' 1~

 

  

 

'Number Street

 

""`_ci_i_y_-_ - _'state_ __ ziPco<ie_ _J-_

     

__ - Who incurred the debt? C_heck_ one

:`l,_`_`cl D_ebtor_1_o_nly _ __ .
)".C] Debtor2_onl_y___ _ 'f _~" `~ ‘
_.'_l;] D_ebtor_1 and D_ebtor.2 only ' ' '

"'. _D_- `At_ least one of the debtors and another

 

"_l;] Che_c_k if this cla_i_r_n_ is _for a_ community debt

  
 

.-ts th_e claim __s_ub_je`ct to offset?__
m No
_, 1a _Yes

 

_"_m No. You_ have n_o_t_i_ii_n_g to rep_ort' in __th_is pa_it. S_ubmit_` t_his f_o_rm _t<_) _t_he_ court with your other_ schedules.'

L_ast 4 digits o_f a___cc`oi_int number

 

 

 

 

_`l`_Wh_er_i was the debt in_c_ui_'red?

n §.ontingerit
__`_-_u Unl_iquidated _ _ _ _ ._ __
"'E_]_ l_Jisputed___

 

l '_l_'ype o_f NONPR|OR|TY unsecured claim

' _t:] Student loans _.. ..
__U .Obligations arising out of a separation agreement o_r _divo_rce

 
    
     

 

 

       

 

  

l _As_ of_ t_he` da__te you fite, _t_he lclaim i_s:_ C_heck_ all that apply_~'._._ _ ' '-_-"-' .. s

 

 

.th_at you did not report as priority claims

-_ ._ n D`ebts to pension or prot' t sharing plans and other similar debts__
.__._l:_] Other. Spec_if_y_ . :- - 1 ' - - - "

 

 

,j.' " _Nonprlon'ty Credllor_s Name

 

' .` Number _ Street

 

__Clty _ . __ . _ _ .- - _State __ ZlP Co_de
'.' l Who incurred the debt? Ch_eck o'ne.
n Debtor1 only
_ _. n Debtor 2 only __
- E]` oebrori and Debiorz only _
"E_] At least o_ne o_f the debtors a_nd another_

 

-E'_E]_ §heck if this claim` is for a community debt

,' ._` lsthe claim subject to 0_ffs_et?__ _ _ ` »_ _'
"C\_No _ -
ci Yes' ~ ' ' - - -

.':_'-Last4 digits o_f account number___ " ' " _' " " _ '_$

`_'_`.[:] Contingen_t
’_-_D U_nl_iquidated
_-D _Dis_puted_ ` '

V_Vhe_n was the debt _ir__\curred'if__

 

:-A_s- of the date you file, the claim` is: _Check all that _ap_ply.

_ Type of NONPR|OR|_TY unsecured claim

_U Studentloans ' ' . _ ..
` " n Obligations arising out ofaseparation agreementordivorce ;" ' '

_ that you did not report as priority claim_s ` _ _ .»

_ "';Cl Deth to pension or profit-sharing pl__a_ns arid other similar debts
l cl C_)ther_. Specify_

 

 

'~ Noriprlority Creditoi’s Name

 

l‘ Numbe_r _ Stre_et

 

" ci_iy v .. . , _ siaie_

 

' -_ _La_st 4 digits of accountriumber ‘-

When was`the debt"ir_icurred? _ ' '

As of the date you file,- the claim is: Check all that apply_. "

 

 

Z|F_’ C_ode
.- '.E]cri "t
_ Who incurred the debt? C_he_ck one. 'U _-_-o_n. n`c_J::ed
. niqui a
m Debtor_1only.- _ U_ _D_spute-'d_ _
'U _Debtorzonly _ ___ . . . _ __
_. _U Debt°" and Debt°" 2 °“’y . Type_ of NONPR|§Rt'|_’Y unsecured c_l_air_n:_
_' .Cl At least one of the debtors and_ another _ _ _
' ' - -_ _ . _ m Student loans _ ' . _ _
_ n Check lf this C\alm 15 f°|’ 3 C°mmumty- debt_ ' ' a Obligations arising out of a separation agreement or_ divorce_ _ ‘
» - _ ' that you did not report as priority claims `
'l th cl m ub` ct o_offse'_?__ ‘
. 5 Ne al s le t t ._ .U Debts to pension or profit-shaan plans and othersimilardebts
' ° , . ..E]_ other. specify . - - ‘ ' "
'_._UYes __ _ ‘
.'O_tlicialForm106E/E ` ` `Schedule'E/F: Creditor_s'_Who Have Unsecur`ed Clairiis ' __ __ ` __ _- : -page__of

 

 

 

 

 

 

 

 

_- "c;_as`r_=;___a{'-_`_;i_-Y_'__?_c_i_i_¢__i;-as-_t __"_Doc__i_s_'_ -i_;ii_ed_ _1-_2/05_{_17_-;_ :_En_-t_e__r_ed_ 12./@5/_1.7 'te_:s_._?_:oz__;-__p

         

'-'Debiori 'Carol"-`--'__-'-";"_ _'_'.'4` A Garthaiin_er_ -: _' _-_~'-Ca`s"`e";u',`-n~b";;;'_(},,,,;a";_jn, 8-')1_7'-7‘61_14'-'asi"-_ -"

ErstName _ll_lliddleName "'_~ _Las!Nam_e - '- t . `» . - ._ ~_ " _ . l ._`- '

       

 

 

 

     

`Y¢§_ur Noi~iPi_zi_oi_ii'r¥_uh'se,-`¢_=q_ied ciainés'-'_coniinpati§n page ___ ' `

 

  
 

   
 
 

   

_is_' pag_e, _n_umber__'the_m: beginning with '4.4, 'i _ed_ by 4.5,-'ai_'idlso' fo_r_th.

 

 

  

 

 

 

_ Last4 digits of account number __`

 

_' .i\lo_riprloiilyCreditofsName__ _ _ _` _' __ . _ _ ' . _' l , ." ' *` __ . _
__ ` ~1 _ ` ' ` ' _Whe__nw`asth_e debtincurrec_l_? " 1 .

 

 

>.Nunibr ' -St et-' . _ ’ ~ _' ' - _ _ . _' d ` l
_'i -:_._te- _ few _'. ‘- ~ - " _ § _ ' ' - ' ___As o_fth`e date yo__u__ file, the claim is _Chec__k all thatapply

 

_'_-¢i_w_ 1

   

__.-s_iaie . ziPché . ~_ ~‘- .`D C°"““_ge"’
- -' - ‘ ' ` ` a U_hliquidated
'. _l:_l l_Ji_s_put_ed_

     

-_Who incurred the_ d_ebt_?_ Chec`k one._ ' l

cl .Deb_tor 1 o_nly _
ct Debtor2 only - _
m Debt_or 1 and _Debter 2_ onl_y ' '
_[_] A_t least one of the debtors and a_r_io_t_iier_

         

" `- Typ`é_ of_ NONPR|OR|TY unsecured claim

'D Student loans

_`_D___ Obligations arising out _of a separatio agreement or divorce t_l_iat - 1 ` 5

_ .you `_did not report as priority claims "_;';' __ - , _ ‘

_ . ~ n Debts to pension cr __p_roti_t- _s_-haring plans, an_d other si_mil_ar debt
- q §t_h_e_r. _Spe__ci_fy_`__- ' '

   
     

[_] _Che_ck if this claim li_s for a community debt_ _

     

|_s the _claim subject to o_f_fset?__

UNo

           

 

   

___ 1__`_|Y_es __ __ _ __ __
_ _ . i _;'_'_ _'_` 1 _. _'; '. __ L'asf#'d_-g_ts.ofaccou.n_ ___________________________ ___ ___ _ _ $

 

 

-'No_npiiority_CreditoFs Name _ -

 

" ._When was the _deb_t incurred'_? " l

   

 

-'-N b _sii'~` - ' '_ _
gum Fr - r€e_ » - _As _of_ the date _you fil_el the claim` is: Check all that apply _ -» _

 

 

- '____ciry _' - . _ - ` '. ' S“'*‘° . f‘ -Z‘PC-°de du C°""“gem
_ _ _- . ' ` _- U- -Unliquidated '
Whoincurredthe debt?Checkone 'Cl _DiSPL_lfe_.d t

UlJ_ebtorionly ';':. -_ " "".' _ _. _ ` »' ‘ ' ' '-
Cl Debtorzoniy _` ‘_'- - __ ' -_`-`_' - " __ Type ofN§NPRl_OR_lTY_ unsecured claim

a Debtor_i and Debter2_only ' l 1 ' ' ‘ `
n At least one of th__e_ debtors and a_n_other

 

' n _St_udent loans_

_El Obligations arisi_ng out of a separation agreement or divorce _that'
you _did not report as priority claims ;- jA -' - ' '

- _ _- _Cl Debts to pension or prot't-shanng plans. an_d othersirri_ila_rd_ebts
ls_the claimsubjecttooffset? _' _- _ ' _ - ' _ .` _ _ __Q_ Other_$pe_c\»fy _ _ ~'

.cin j _' _ _ __ __ __ ___ ~ -_ _ __
C\Yes.~' -. z ~ - .» '

»" L“[ w _‘.- _-__.: l_ _'_ _. _' ' __- ___ - __ ` ‘>_ _-'._..,-____~_ _ _ _-‘$'-._4_'

j__ _ _ - _ _ . _ __ Last4 digits of account number __

l__] §heck if this_ claim` is for a commi._inity_ debt

 

 

 

 

‘ 'Nonpriority Creditors Name ~-_ ‘_ - . , » .
' ‘ - " ' Wh__en was_ the debt i_ncurr_ed?_

 

".`N b si t_ -` in `
' um _er . fee ' _As _of the date _you file_,__ th_e claim` is: C_heck a_ll that apply

 

'. ~ci;y _ - _ _. _ ._ = _sraie_ zii>_code _ _ L`_|_ Comingem 1~ _'_ _ ~_
v ' 2 ‘ ' b ` v ` ` 'El _Unliqui_dated h ` ' .
Who incurred the debt? Check one. ‘ m :pj_sppted
Cl Debtor1oniy _ __ __ __ _ ' -‘ ' ._' -_ . __
El Debtorz only _ ' ~ _ 3 ` .‘ -_ _ " ~' _` _ Type of NQNPR_|QR|T_Y unsecured claim:_ __ _ _""- - ' ' _"`
a Debtor1_ and Debtor20n_ly - ` l ~ " ' ` `- ` . _:` ` ' '
_D_ At least one of the debtors and another__

 

 

n Student loans

n Obligations arising out of _a separation agreement o_r dliv_orce that _-
you did not_ report as priority claims ‘

_ ' _' a Debtsto pension_ or proft-sha'ring plans- a-nd othersirriilai_'_ _de_bts '
-ls t_l_ie claim subject t_o offset? ' `... ' 5` _ __ -_ _ . j . . _C|__ the_r Spec,'fy_ . _
' _D_Yes_

L_.t Check if this _c_lai_m i_s` for a community debt

 

 

 

 

 

.'§fiiciall:_orm1i)6.E/F_ ._ " _ _ l.Sc’hedule_E/F: _Cre'ditors Who`l~l_avé Unsec.urediCla-ini_s- " -' ‘: _` il _ page;of;_

 

  

case;e;;?-_?_§_l_-I_;_l_-'_asi; gt)c_>g 1_3~__:__._i=i.led'f2195/171';_'__i;tq_'_ie_re_d'_`12_/_05/_.1'_7;__1_§_ `

       

   

 

 

'8-171761'1`44:3$& -_ ~ :

 

4 A-4"-44` ' 'Garthaffner \4 4_ lC_ase numbe_r_(ir_knawn)

- M_i'_ddle Name ._ - Las_lName-

 

4' 4'_ ms L_ist Others t_o4 B4_e4 Notif‘ ed _Ab4out_ a D_ebt 'l_'hat -_Y_ou_ Alr`e_ady L_is_te_d

   

 

5. Use this page only i4f you have others to be notified about your bankruptcy, fo4r a debt that you already listed' in Parts 1 or 2. 4For _ _
__ ‘ 'exam_p_le`, if a collection agency is trying to collect fror_n yo_u f_oi" a debt you owe to someone ei_s_e,_ list the original creditor in Parts 1 or
_2, then list. the collection agency here. Similar|yl if you have more than__ one creditor for any of the debts that you listed' in Parts 1 or 2, list the _
' additional creditors here. if you do not have additional persons to be notified _for a_n`y deb_ts` in_ Parts 1 _or_ _2_, d_o _not fil_l_ out or submit this page. _' .'

O4_ri which entry in Part1 o_r Part 2 did you list thel onginai creditor_?

 

_ Name

 

4 - ' Lirie__ of (Chec_k one)_: C] Part 1: _C_reditors with Pi_'iority U_r_i_secu_red 4_Ciaims

-_:_44N“'ij_er __ . _'S_'feef ___l_;_] _Part2: _Credi_tcrs with Nonprionty Un_s_ecured Cla_im4s 4 44

»` ,'-..

  

 

   

__ -_ _- Last4digitsofaccountnumber

 

   

 

 
 

 

  
 

 

4`_4ciiy _- -.- - __ __ ' __ estate _ ."ziPcode_
_ _ 4 4 4 "Qn which en___try` in Part or Part 2 did _yo___u list the original creditor?
Na“_‘e_ _ _ . _ » - _
44 . _ _ _ __ _4 4‘ _ _ 4 4_4`~Li4r_ie__ `- _4of (Chec_k _or_ie): U4 P_art_1__4: C_reditor_s with Priority L_Jn__s_ecured Cl_airns
44'Number __ 'Sireet_ - _ - _ ' ‘ 44 ‘

_ __ _ ft Part2: Credii_crs with Nonprionty Unsecu_re_d_ _44`_`

 

   

.._'

4 44. _ 4 ~_L`ast 4 digits_of accoti__r_it numbe_r `

   

 

'jCity_ Siale ZlPCocie_

 

 

   

 

__ .4'_0n___ which entry _in Part1 o_r _P_art 2 did you_ list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

'4‘_Name4_:._ '_ ' " - -‘
4 _4 _ 4 _. _ ` 'L_ir_ie __of 4(_Chec4k o`na): _C]_4 Part_1: Crediiors_ with l_=’riority_ Unse_cured _Ci_a_ir_r'is__ - 4 4
N“"T.ber " S"¢e‘_ _~ ~ ' >' 4 C_i Part2: §reditwo_rs with No_r_iprior_ity U_nsecure_d 4_~ ' 4»

' _ Clairris ~
_ ' ' 1 ~ ' "` - - ` - - _ _4Las4t4 digits of account number__ _ ___ ___--_ _ _

-'ciiy _ ' - __ ' .siaie _ _ ziPcoue _'.' ' _ __ _ '_ _

4 . 4 4 _ _On which entry in Part1 or P__art 2 _did you list the original creditor?
Name__ _ . _

_ _ __ _l4_ine4___ ~ of (Ch_eck one4)_4: C] Part1: (_.`,r_editors with _Pri4ority _l_Jnsecured Claim_s_

'Numbe_r 5"€_€‘ ~ E_] Fa__rt 2: _§reditors with Nonpr__io_r_ity Un4secur4ed_

' ` Cl_aims _ _ _
-4~` _4' " ~ 4 ' 4 4‘ _ li_.ast 4_ digits of account number_' `__' _ __ ‘4'
Ciiy _ ~ . ' ' Siate _ _ZIP Code _ ' _ _
_ . _ _ 0r1 which entry in Part 1 or P_ar_t 2 did y_c_4)i.i_ list the _or_ig_i_nal creditor? `_ '
`N_ame _ " - _ , _
_ _ i_lne;_ 4 4 of (Check one): C44l4 P_art 1: _Crediiors_ with Pri_ori_ty Unsecured_ Cia_irris 4_ 44._ _'
` __ Number _ sir_eei _ _ - _ `_ ;l Part 2: Creditors with Nonprionty Unsecure_d 4
4 ' - __Claims

_-_ _- ' _ - - ` Last4 digits of_ account n_umber`__ ___ _ _ _ 4

__ ciiy . _ - --srare zii= code "

_ _ 4 4 4 4 4 '40n which __entr_y in Part 1 or P_a_rt 2 did __you list the __ori_g4ina_i creditor? ’ '

_4Name_ _ _ _ _-_.

_ 4 » Line__ o_f (Check orie)_:_ Cl Part 1: Cred_iiors wit_h l_?ricrlty Unsecured _Ciaims _` _
Numbe' _ S‘_ree‘_' 4' 4 El_ Part 2: Credilors with __l_\l_onp_riority L‘_Jns_ecui_'e_d_
' Claims _ __ _ _

. ‘ ' ' ' Last4 digits_ of _a`cc_oiint nu_r4nbe4r4___ ___ _
ciry _ _~_ state ' zii= code '

_ N -C_)n which entry in Part1 or P44art_l 2 did you list thel original creditor?_ 4

' amB

» - ' _i_ine___ of (_Check on_e)_: C_l Part 1: _Creditors with P_rior_ity U_n'_se<_:_ured C_iairr_is_

Number - $-”%_4 4 '4 4 y 4 ' _ _.4 4 -Ci Part2: Crediiors with No__nprioriiy _Un_secur_ed '4 ‘

Cia_ims
4ley _ ;__ ~ _~~ 4 state _ _ ziP4c4ode _- `. ___ _L4a_5¥_4 d_i_gil`$ °f a°°°_unt _“u'_'"bQ_*'_____ __...__ _

 

 

____ _ _____ -:_, __ _ ,- ,»_

_ ornéiai_i=orrii__`iOS_E/_F_ :;44

 

-_:__4_scheduie i¥:/i_=:c}e`¢_iiipr§whé4H`ave`ur41_§é4cu_i_'e`d`ciai}_ns. ` 3 4 page_of_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fill in this information to identify your case:

 

 

 

 

 

 

ch contract or lease' ls for _(fo l
e_xample, rént, vehicle lease,_ g ` ' `
unexpired l'éase

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

._ Garthéffner-

~ _Las\_l_{_ame_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 ` Name

 

Number _- Street'__ _`- , , -| _

 

_- _. Sta_tel -_'Zl__P Code -' _~,.

 

 

` Numbe[ Stre_et--'_ '

 

 

`_ j:_St§;e ; 'Zl_P Co_de

 

.”1'
r

 

 

 

 

 

bfncia, l`=[>r`n"a` 10661_-

 

 

Fill in this information to identify your case:

 

 

 

 

 

 

 

 

 

 

chedule _E/F, or_ Schedule G t 'f' ll out _Column '

 

 

 

 

 

 

 

 

 

 

t __ Schedu|é D, line
~_ Schedule_E/F line
‘,Schedulé` G_,~` ne

 

 

 

 

 

 

 

,s¢h'e¢w¢

 

 

 

 

 

your.~Codebto_rs f

 

    
   
   
 
   
   
   

 

 

Middw Name 1

 

 

 

 

7 'Z|P Code ‘

 

 

 

 

 

 

 

 

`._.,zlP__<_:qde_\ »' ~

 

 

_ _'ScheduleD line
…Schedule E/F-, line
~Sched`ule G,- line v b

 

  
 
   
   
    
   
   
      
 
  

 

H, -` : vSlreet_» ~

 

 

._1 ZIP Code . 3-

, _~_'*'_`Schedule D line
` Schedule E/F line
'V»Schedule G'iline_'__

 

 

 

 

`Schedme c`),11r`1e
_-`Schedule E/F, line _'
f~Scheoule G,_line _

 

 

   

., `Street

 

 

Schedule D, line
`.Schedule E/F,` line ,
'Schedulee line ~’

  
   
   
 
   
 
   
   
   
 
   
 
 

 

 

,SU'E§! -, ~-- ¢.

  

 

 

le' code »- »'

 

 

 

   

Cl' Schedule _D,l_1ne
"';SchedulerE/F line '
;`Schedme

 

Name ;. 7

 

 

'- .- S_treet

   

 

 

 

"z1Pcode `. _ \_

 

    

):O'flioiel Fornq 106H .` Sched'lile'_H:."Yoii_r Codebfor_

     

Fi|| in this information to identify your case:

a'§idéirher

. Midd|_e Name ' _:‘ LastName vi

 

 

 

 

 

 

upp|y_ing correct information. lf you r_e married and not filing joint|y,` and your spouse is living with you, include 1nformat10n about your spouse.
you are separated and your spouse is n'o_t f l1ng with you, do- not include information about your _s`pous_e. lf more space is needed, atta

 

 

attach a separate page with
formation about additional
n Not employed

 

 

Employe'r‘s'rad_dress

 

" Number Street ` ‘ 'Number ";_Street

 

 

 

Hawian'g 'emw¢sye'd ihéré§__j.

'oi've oec'aiis.‘~'Abqu¢"M¢¢ifh yfl` ,
st1mate monthly income _as of the date you file this fcrm. lf you have nothing torreport for any line; write'$O 1n the space. lnclude your non-liling

pouse unless you ar_e_ separated

lf you or your non-f l1ng spouse have mo_re than _one employer combme the 1nformat10n or_ all employers for that person on the ' es
below f you need mo_re space attach a separate,sheet to this form .

Estimat_e 'and:list monthly_o\iertime `p`ay.

 

 

 

 

_s 1ncome1Add |1ne 21

 

 

 

 

 

You; ,‘ncor`ne

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fill in this information to identify your case:

Gér"t’r’§§%e""

 

 

 

 

 

 

 

 

_ not_'_s_'tate the`dependent

Dependent's relationship to
De_btor 1_ o_r Debtor _2

Does depend nt

 

 

 

 

 

 

 

 

 

 

' expenses of people other than
yourself and your dependent 7

 

 

 

 

 

 

 

 

Garthaffner Case,nurnber (ifk§,aw£) 8`17'-76114135t

` Middle,l‘l_ame

5_'_'Additio11a1 rnor'tgagc'a,,pay_rnents'_1"111v your res_iden_c'e, such.§as home.equi’tyhl'oan's »;|

 

 

ves,;¢nd_s¢ok§

 

 

 

 

 

 

1 "‘_¢‘(o`ur payments of alimohy, mamtenance, and support that you did 11111 report as deducted from
." your pay on line 5 1 Schedulel, your income (Off1c1al Form 1417)6|).v 1 '

 

Real estate taxe* l v
__ Property homeowner's, or renter's 1nsu1ance
1 a1ntenanc 1ep_air, ahd upkeep expenses

" ' _ Homeowner‘s assoc1al1on 111 condominium dues

'-ijioialFoim 166`.1:" ` _ ` 1 ` J:,'_Y`:ou1:tE')1pen_ses__"'

 

 

Middle Name

 

 

 

 

ny 'f;<éhj§$iffi¢za

" "me»t_hi§ fgr_m

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fill in this information to identify your case:

 

 

 

Unifed States’l§’ar'\krup"
' " 58:17-76"1'121 §

 

 

 

 

 

Atta§h _B nki';lptcy i_'j'eiitio(z.|Prep,arer's I__\Iolice,_ D,e<
'Signature`(Offl_c'i_a| Form 7

 

 

 

" Sigjnatu`yq'oij`ebtd;f 2_~:'

ratioq,, and .-

 

D_¢c|ara pn bout,`a_n 'd dua|_,Debtqr’s"

 

 

 

